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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
         Plaintiff,

           v.                                             Civil Action No. 22-2292 (CKK)

 PETER K. NAVARRO,
          Defendant.


                                  ORDER AND JUDGMENT
                                      (March 9, 2023)

          For the reasons stated in the accompanying Memorandum Opinion, it is hereby

          ORDERED, that Defendant’s [9] Motion to Dismiss is DENIED. It is further

          ORDERED, that Plaintiff’s [7] Motion for Summary Judgment is GRANTED. It is
further

       ORDERED, that Defendant shall produce to Plaintiff the 200 to 250 documents that his
counsel has identified as Presidential records forthwith. It is further

        ORDERED, that, on or before thirty days after the entry of this Order, the parties shall
MEET AND CONFER to discuss the search terms and methodology used, or to be used, to
unequivocally identify Presidential records in Defendant’s possession. If the parties reach
agreement on the search terms and methodology, their implementation to identify records should
thereafter proceed, and all Presidential records identified thereby shall be expeditiously
produced. Once the records search and production have been completed, Plaintiff shall file a
notice indicating that the judgment entered herein has been satisfied. If, however, the parties fail
to reach agreement on search terms and methodology, the parties shall, no later than seven days
after their meet-and-confer, file a joint status report explaining how they intend the Court to
enforce the judgment entered herein.

          SO ORDERED.

Date: March 9, 2023
                                                             /s/
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge
